
717 S.E.2d 369 (2011)
Fred WALLY, Lavon Benton, Randall Benton, Don Crowe, George Martocchio
v.
CITY OF KANNAPOLIS.
No. 111PA11.
Supreme Court of North Carolina.
August 25, 2011.
T.C. Morphis, Jr., for Wally, Fred, et al.
Keith J. Merritt, Charlotte, for City of Kannapolis.

ORDER
Upon consideration of the petition filed on the 22nd of March 2011 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 25th of August 2011."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
